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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                             Plaintiff,

                        v.                          Case No. 1:21-cr-00047-RDM

HECTOR VARGAS,

                         Defendant.


         DEFENDANT’S RESPONSE TO COURT’S ORDER OF OCTOBER 25, 2022

       Defendant Hector Vargas responds to the Court’s Order of October 25, 2022, by

stating that he does not oppose the Government’s Motion in Limine Regarding U.S. Capitol

Police Surveillance Cameras (Sept. 19, 2022) [ECF No. 28], or its Motion in Limine

Regarding Cross-Examination of Secret Service Agents (Sept. 19, 2022) [ECF NO. 29].

Date: November 7, 2022                    Respectfully submitted,

                                           /s/ Paul F. Enzinna
                                          Ellerman Enzinna Levy PLLC
                                          1050 30th Street, NW
                                          Washington, DC 20007
                                          202.753.5553
                                          penzinna@eellaw.com

                                          Counsel for Defendant Hector Emmanuel Vargas Santos
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                                       CERTIFICATE OF SERVICE

        I certify that on November 7, 2022, a copy of the foregoing Defendant’s Response to

Court’s Order of October 25, 2022, was filed using the CM/ECF system, which will then send

notification of such filing to all counsel of record.


Dated: November 7, 2022                     Respectfully submitted,


                                             /s/ Paul F. Enzinna
                                          Ellerman Enzinna Levy PLLC
                                          1050 30th Street, NW
                                          Washington, DC 20007
                                          202.753.5553
                                          penzinna@eellaw.com

                                          Counsel for Defendant Hector Vargas
